         Case 3:16-cv-00442-PRM Document 21 Filed 06/22/17 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                                     FOR THE
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION


P.M.I. SERVICES NORTH AMERICA,                  §
INC.,                                           §
             Plaintiff,                         §
                                                §
v.                                              §   CIVIL ACTION NO. 3:16-cv-00442-PRM
                                                §
ENDURO PIPELINE SERVICES, INC.,                 §
           Defendant.                           §


                  DEFENDANT’S DISLCOSURES UNDER RULE 26(a)(2).

TO:    Plaintiff, P.M.I. Services North America, Inc., by and through its attorneys of record,
       Christine Kirchner and Cade W. White, Chamberlain, Hrdlicka, White, Williams &
       Aughtry, 1200 Smith Street, Suite 1400, Houston, TX 77002; and Clyde A. Pine, Jr.,
       MOUNCE, GREEN, MYERS, SAFI, PAXSON & GALATZAN, P.O. Drawer 1977, El Paso,
       Texas 79950-1977.

       Pursuant to the Court’s Scheduling order and Rule 26(a)(2) of the Federal Rules of Civil

Procedure, Defendant hereby serves the required disclosures under Rule 26(a)(2). Attached to this

disclosure includes the information required to be disclosure under Rule 26(a)(2), including the

report of its specially retained designated expert. If you have any questions, do not hesitate to

contact our office.


                                            Respectfully submitted,

                                            By: /s/ R. Layne Rouse
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Case 3:16-cv-00442-PRM Document 21 Filed 06/22/17 Page 2 of 3



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                           ATTORNEYS FOR DEFENDANT
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         Case 3:16-cv-00442-PRM Document 21 Filed 06/22/17 Page 3 of 3



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this the 22nd day of June, 2017, a true and correct copy of the above
and foregoing document was served upon the following counsel of record via email.

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ATTORNEYS FOR PLAINTIFF, P.M.I.
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                                                       /s/ R. Layne Rouse
                                                      Dick R. Holland
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